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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




Timothy Barkovic,

                                   Plaintiff(s),
v.                                                     Case No. 2:17−cv−12845−AC−DRG
                                                       Hon. Avern Cohn
Michigan, State of, et al.,

                                   Defendant(s),



                               ORDER REQUIRING RESPONSE

     The following document has been filed:

                Motion to Dismiss − #9
                Motion to Dismiss − #12
                Motion to Dismiss − #22
                Motion to Dismiss − #24
                Motion to Dismiss − #25
   IT IS HEREBY ORDERED that Timothy Barkovic shall file a response to the above
document on or before January 26, 2018. The response shall be filed in accordance with E.D.
Mich. L.R. 7.1.




                                                   s/Avern Cohn
                                                   Avern Cohn
                                                   U.S. District Judge



                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                               By: s/M. Verlinde
                                                   Case Manager

Dated: January 16, 2018
